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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

                                                          )
KPM ANALYTICS NORTH AMERICA                               )
CORPORATION,                                              )
                                                          )
                            Plaintiff,                    )
                                                          )
v.                                                        )
                                                          )
BLUE SUN SCIENTIFIC, LLC; THE INNOVATIVE                  ) Civil Action No. 4:21-cv-10572-MRG
TECHNOLOGIES GROUP & CO., LTD; ARNOLD                     )
EILERT; MICHELLE GAJEWSKI; ROBERT                         )
GAJEWSKI; RACHAEL GLENISTER; GREGORY                      )
ISRAELSON; IRVIN LUCAS; and PHILIP                        )
OSSOWSKI,                                                 )
                                                          )
                            Defendants.                   )
                                                          )

                   MOTION IN LIMINE TO PRECLUDE EVIDENCE OF
                      IRVIN LUCAS’S CRIMINAL INDICTMENT

        Pursuant to Federal Rules of Evidence 402, 403, 404, and 609, Defendants Blue Sun

 Scientific, LLC (“Blue Sun”), The Innovative Technologies Group & Co., LTD (“ITG”), Arnold

 Eilert, Robert Gajewski, Garchael Glenister, and Irvin Lucas (Eilert, Gajewski, Glenister, and

 Lucas, collectively, the “Individual Defendants”) move in limine to preclude Plaintiff KPM

 Analytics North America Corporation (“KPM”) from offering any evidence of Mr. Lucas’s

 criminal indictment and/or guilty plea in a federal action pending in the Northern District of

 Illinois. Rule 404 prohibits evidence of other crimes, wrongs, or acts to prove a person’s

 character, which is precisely what KPM is attempting to do with evidence of Mr. Lucas’s

 indictment. The indictment is unrelated to any of the parties or causes of action in this case, and

 therefore is irrelevant and admitting it into evidence would be highly prejudicial to Mr. Lucas

 and the other Defendants. Nor is evidence of the indictment admissible under Rule 609 to

 impeach Mr. Lucas’s character for truthfulness. Rule 609 is limited to “convictions,” and Mr.
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Lucas has not been convicted of anything. Courts have held that a party who has entered a guilty

plea, but has not yet been sentenced, has not been “convicted” under Rule 609 and therefore

evidence of the indictment or plea is inadmissible.

                                        BACKGROUND

       On November 16, 2021, the United States of America filed a criminal indictment (the

“Indictment”) against Mr. Lucas and Kimberly Dyson, an employee of the United States

Department of Veteran Affairs (the “VA”), in the United States District Court for the Northern

District of Illinois, captioned U.S. v. Dyson, et al., No. 1:21-CR-00705.        The Indictment

generally alleges that Ms. Dyson, a Prosthetic Clerk and a Purchasing Agent in the VA

Prosthetics Service at the Jesse Brown VA Medical Center in Chicago, requested that Mr. Lucas

pay her personally in return for her issuing purchase orders from the VA for equipment and

services from “Company A,” a company Mr. Lucas was affiliated with and which is in no way

related to any of the parties in this case. On May 25, 2022, Mr. Lucas entered into a plea

agreement (the “Plea Agreement”) with the United States, wherein he pled guilty to bribery of a

public official, in violation of Title 18, U.S.C., §§ 201(c)(1)(A) and 201(c)(1)(B). See 1:21-CR-

00705-2 (N.D. Ill.), ECF No. 51. Mr. Lucas has not yet been sentenced. See 1:21-CR-00705-2

(N.D. Ill.), ECF No. 72 (scheduling status hearing on May 15, 2023 for the purpose of setting a

sentencing date).1

                                         ARGUMENT

       Evidence of the Indictment and/or the Plea Agreement should be precluded because such

evidence is not admissible to attack a person’s character, and the Indictment and Plea Agreement

do not fall within the Rule 609 exception because Mr. Lucas has not been convicted of a crime.


       1
         Ms. Dyson pled guilty to Count I in the Indictment and was sentenced to three years of
probation. See 1:21-cr-00705-2 (N.D. Ill.), ECF No. 74.
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Rule 404(b) of the Federal Rules of Evidence provides that evidence of any other crime, wrong,

or act is not admissible to prove a person’s character in order to show that on a particular

occasion the person acted in accordance with the character. That is precisely what KPM aims to

do with the Indictment and Plea Agreement; sully Mr. Lucas’s reputation in hopes of turning the

jury against him and the other Defendants.

       And while Rule 404(a)(3) allows evidence of a witness’s character under Rule 609, that

Rule does not apply because Mr. Lucas has not been convicted of any crime and neither the

Indictment nor the Plea Agreement constitutes a “conviction” under applicable federal law.

“Final judgment in a criminal case means sentence. The sentence is the judgment.” Berman v.

U.S., 302 U.S. 211, 213 (1937); United States v. Agron, 189 F. Supp. 3d 177, 181 (D. Mass.

2016) (“A judgment of conviction that includes a sentence of imprisonment constitutes a final

judgment”) (cleaned up).

       In the context of using evidence of criminal convictions to impeach witnesses at trial,

courts have held that where a defendant has pled guilty but has not yet been sentenced, the

“conviction lacked the certainty and finality to warrant its prejudicial use against [the defendant]

at trial,” for although he had pled guilty, “he had not been sentenced and could have sought to

withdraw his plea agreement prior to sentencing.” U.S. v. Semensohn, 421 F.2d 1206, 1208 (2d

Cir. 1970) (superseded by rule).2 See also U.S. v. Lee, 509 F.2d 400, 405 (D.C. Cir. 1974) (a

“conviction” requires a judgment and sentence, “a mere plea of guilty is insufficient”); United


       2
         Semensohn also held that a conviction does not become final until sentence has been
imposed and until time for an appeal from the judgment has expired. Id. at 1208. Rule 609(e) of
the Federal Rules of Evidence subsequently narrowed the definition of a final conviction and
expressly allows the use of a conviction for impeachment even though an appeal is pending. The
Federal Rules of Evidence do not provide guidance on whether a plea of guilty constitutes a
“conviction” under Rule 609, but as stated herein, post-Rule 609 decisions have continued to cite
Semensohn for the proposition that a guilty plea is not a “conviction” for purposes of Rule 609
unless and until a sentence is imposed.
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States v. Arreola-Beltran, 827 F. Supp. 2d 1188, 1196 (D. Idaho 2011) (“A plea of guilty—

especially where defendant has yet to be sentenced—is not the same as a conviction, for

purposes of a Rule 609 impeachment analysis.”); U.S. v. Franklin, 829 F.Supp. 1319, 1322

(M.D. Fla. 1993) (Defendant’s guilty plea should not be viewed as a conviction, “[t]o find

otherwise would have strong due process implications.         If the plea were withdrawn . . .

Defendant would have suffered, unjustly and irreparably, the prejudice, if any, caused by the

disclosure of the former conviction”); Calaforra v. Colvin, 2016 WL 7742785, at *16 (S.D. Tex.

Sep. 15, 2016) (“an indictment is not admissible to challenge the credibility of a witness and

should not have been considered in this case”).

       Here, Mr. Lucas has not been “convicted” of any crime because he has not yet been

sentenced. Rule 609 is therefore inapplicable and any evidence of the Indictment or Plea

Agreement should be precluded.

       If evidence of the Indictment or Plea Agreement is allowed, the Court should instruct the

jury that Mr. Lucas’s conviction cannot be used as evidence of his character, but only to

determine his credibility as a witness. See U.S. v. Barrow, 448 F.3d 27, 44 (1st Cir. 2006). The

Court should also instruct the jury that Mr. Lucas’s conviction cannot be used to assess the

credibility of any other Defendants.

                                        CONCLUSION

       For the foregoing reasons, the Court should preclude any evidence of the Indictment or

the Guilty Plea. If evidence of the Indictment or the Guilty Plea is admitted, the Court should

instruct the jury that the evidence can only be used to assess Mr. Lucas’s credibility as a witness

and cannot be used to impeach his, or any other Defendant’s, credibility generally.
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ARNOLD EILERT, ROBERT GAJEWSKI,                     BLUE SUN SCIENTIFIC, LLC and THE
RACHAEL GLENISTER, and IRVIN                        INNOVATIVE TECHNOLOGIES GROUP &
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      CERTIFICATE OF SERVICE

        I hereby certify that this document filed
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electronically to the registered participants as
identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those
indicated as non-registered participants on
April 26, 2023.




______________________________
Dallin R. Wilson
